            Case 1:11-cv-11653-RWZ Document 3 Filed 10/25/11 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                 :
Joanne Taite ,                                   :
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                   Civil Action No.: 1:11-cv-11653
                                                 :
National Asset Recovery Services, Inc.; and      :
DOES 1-10, inclusive,                            :
                                                 :
                                                 :
                      Defendants.                :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 30 days.


Dated: October 25, 2011

                                                  Respectfully submitted,

                                                  PLAINTIFF, Joanne Taite

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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          Case 1:11-cv-11653-RWZ Document 3 Filed 10/25/11 Page 2 of 2



                                CERTIFICATE OF SERVICE

        I hereby certify that on October 25, 2011, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg_________

                                                     Sergei Lemberg
